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                 UNITED STATES DISTRICT COURT
                 NORTHERN DISTRICT OF GEORGIA
                       ATLANTA DIVISION

 VOTE.ORG, et al.,
                             Plaintiffs,

        v.
                                             No. 1:22-cv-01734-JPB
 GEORGIA STATE ELECTION
 BOARD, et.al.,
                   Defendants,

 GEORGIA REPUBLICAN PARTY,
 INC.; and REPUBLICAN NATIONAL
 COMMITTEE,
              Intervenor-Defendants.



        INTERVENOR-DEFENDANT REPUBLICAN NATIONAL
         COMMITTEE’S NOTICE OF JOINDER IN THE STATE
         DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT

     Intervenor-Defendants Georgia Republican Party, Inc. and Republican
National Committee (“Intervenor-Defendants”) join the State Defendants’
motion for summary judgment and adopts and fully incorporates their
arguments supporting dismissal of Plaintiffs’ claims on the merits except for
State Defendants’ arguments relating to redressability (Section I.A.1) and
sovereign immunity (Section I.A.2). See Doc. 156-1.
     Because the Plaintiffs have failed to show any injury from the pen and
ink rule or otherwise, the Plaintiffs lack standing to bring their claims.
Muransky v. Godiva Chocolatier, Inc., 979 F.3d 917, 924 (11th Cir. 2020).
Further the Plaintiffs have no implied right of action under the Voting Rights
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Act. Ziglar v. Abbasi, 582 U.S. 120, 131–32 (2017); Egbert v. Boule, 596 U.S.
482, 491–92 (2022). And finally, the Plaintiffs have failed to establish that the
pen and ink rule violates the Materiality Provision of the VRA. 52 U.S.C. §
10101(a)(2)(B).
      For the reasons set forth by the State Defendants in their Motion for
Summary Judgment and Brief in Support thereof, fully adopted and
incorporated by the Intervenor-Defendants as if fully stated herein, except for
Sections I.A.1 and I.A.2., the Intervenor-Defendants request summary
judgment be granted in their favor.




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Dated: March 7, 2024                     Respectfully submitted,

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            CERTIFICATE OF SERVICE AND CERTIFICATE
              OF COMPLIANCE WITH LOCAL RULE 5.1
      Pursuant to N.D. Ga. L.R. 5.1(C), I prepared the foregoing in Century
Schoolbook font and 13-point type. I electronically filed it using CM/ECF, thus
electronically serving all counsel of record.


 Dated: March 7, 2024                   Respectfully submitted,
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